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ATTORNEYS FOR REYNALDO P. PEREZ

                  IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION

NATIONWIDE JUDGMENT RECOVERY,                    §
INC., as Assignee of Matthew E. Orso, in his     §
capacity as successor court-appointed            §
Receiver for Rex Venture Group, LLC d/b/a        §
ZEEKREWARDS.COM for Receiver                     §
KENNETH D. BELL,                                 §
                                                 §
Plaintiff                                        §
                                                 §
                                                 §
v.                                               §
                                                 §
REYNALDO P. PEREZ, SSN xxx-xx-5030 (a            §
member of the DEFENDANT CLASS OF                 § CIVIL ACTION NO. 3:21-mc-00293-L
NET WINNERS in ZEEKREWARDS.COM);                 §
TODD DISNER, et al.,                             §
                                                 §
Defendants                                       §
                                                 §
v.                                               §
                                                 §
TD AMERITRADE HOLDING                            §
CORPORATION,                                     §
                                                 §
Garnishee.                                       §



        ANSWER AND/OR OBJECTION OF REYNALDO P. PEREZ TO WRIT
        OF GARNISHMENT TO TD AMERITRADE HOLDING CORPORATION
        (RE: DOCKET NO. 28)




ANSWER AND/OR OBJECTION OF REYNALDO P. PEREZ TO WRIT OF GARNISHMENT TO TD AMERITRADE
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TO THE HONORABLE SAM A. LINDSAY, U.S. DISTRICT JUDGE:

       Reynaldo P. Perez, alleged judgment debtor herein (“Perez”), files this Answer and/or

Objection of Reynaldo P. Perez to Writ of Garnishment to TD Ameritrade Holding Corporation

regarding the Writ of Garnishment (Docket No. 24) (the “Garnishment”) issued against TD

Ameritrade Holding Corporation (“TD Ameritrade”), and in support thereof would show to the

Court the following.

       1.      By way of background, Perez is 82 years old and has attempted at various times,

with and without counsel, to resolve the purported judgment resulting from the ZeekReewards

Ponzi scheme litigation since 2018 or earlier without success. In essence, the Receiver and/or

current judgment holder (i) suggests that Perez max out unused credit card facilities in order to

satisfy the purported judgment, and (ii) suggests that the purported judgment here is

nondischargeable in bankruptcy, ignoring several recent reported and unreported bankruptcy

court opinions to the contrary.1 Perez disputes the applicability of the purported judgment

because Perez actually received much less than what is recorded in the “Net Winners” table filed

in relationship to the purported judgment.

       2.      On June 7, 2022, the Clerk issued the Garnishment (Docket No. 24) that is

directed to TD Ameritrade.

       3.      On June 23, 2022, TD Ameritrade filed its Original Answer to Writ of

Garnishment (Docket No. 25) (the “TD Answer”).

       4.      The account identified as Account No. XXX-XX0132 in the TD Answer is an

individual retirement account that is exempt under Tex. Prop. Code §42.0021.



1
  See In re Reefe, 638 B.R. 834 (Bankr.S.D.Fla. 2022); In re Sheppard, 2022 WL 598323
(Bankr.E.D.N.C. Feb. 28, 2022); In re Simons, 2021 WL 5225940 (Bankr. D. Minn. Nov. 9, 2021).

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       5.      TD Ameritrade in the TD Answer admits that Account No. XXX-XX0132 is a

“Rollover IRA.” See excerpt image below from Docket No. 25.




       6.      The acknowledgment by TD Ameritrade that Account No. XXX-XX0132 is an

IRA alone is sufficient to sustain the claim of objection by Perez with respect to such account,

and the burden to prove otherwise now shifts to the creditor. See In re Jarboe, 365 B.R. 717,

721–22 (Bankr.S.D.Tex. 2007) (“It is the burden of the party claiming an exemption under §

42.0021 of the Texas Property Code to prove that he is entitled to it. But combined with the

liberal rule of construction, evidence that an account is an IRA is sufficient to establish that it is

exempt, unless evidence is presented that the IRA does not qualify for exempt treatment under

the Internal Revenue Code.”) (internal citations omitted).

       7.      Furthermore, Perez possesses the right to receive payments from Account No.

XXX-XX0132 free from the relevant judgment and the Garnishment herein, under Tex. Prop.

Code §42.0021(b).

       8.      Accordingly, the Garnishment should be dissolved immediately with respect to

Account No. XXX-XX0132, and Nationwide Judgment Recovery, Inc. et al. should be enjoined




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and/or otherwise prohibited from further interference with any of the exempt property of Perez

including but not limited to Account No. XXX-XX0132.2

       9.      Perez reserves the right to amend and/or supplement this objection prior to any

hearing and/or final disposition of this matter.

       WHEREFORE, Reynaldo P. Perez, purported judgment debtor herein, respectfully

requests that the Court (1) dissolve the garnishment with respect to the individual retirement

account account held by Perez at TD Ameritrade Holding Corporation and referenced and

described as Account No. XXX-XX0132 and (2) otherwise enjoin and prohibit Nationwide

Judgment Recovery, Inc. et al. from interference with any of the exempt property of Perez,

including but not limited to Account No. XXX-XX0132. Respondent respectfully requests such

other and further relief to which respondent may be entitled at law or in equity.



Dated: July 7, 2022                       Respectfully submitted:

                                          WEYCER, KAPLAN, PULASKI & ZUBER, P.C.

                                          By:       /s/ Jeff Carruth
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                                          ATTORNEYS FOR REYNALDO P. PEREZ




2
  A request has been made to Mr. Newark, counsel for the movant, to release the Garnishment with
respect to Account No. XXX-XX0132.

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                              CERTIFICATE OF SERVICE

The undersigned certifies that on July 7, 2022, a true and correct copies of the foregoing
document were served electronically via the Court’s CM/ECF system to all those entitled to
receive service and to all other parties, consisting of the parties set forth below.

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Attorneys Plaintiff


                                                 /s/ Jeff Carruth
                                                 JEFF CARRUTH




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